
THIS prisoner was indicted at the District Court of Winchester, in September, 1791, for the murder of Abraham Vanhorn. On his trial, the jury found a special verdict in the following words.
“ We of the jury find that about three o’clock on the “ fourth of July, one thousand seven hundred and ninety- “ one, John Crane, the prisoner at the bar, was inform-u ed by his reapers, that one Campbell’s reapers had sent “ a challenge to his. That in consequence of this sup-*11u posed challenge, the said John Crane went with others “ out of his own field into the field of the said Campbell, “ which was adjoining to that of Crane’s, and that the “ said Crane did make use of threatening language, such “ as he could whip any naan in the field, meaning Camp- “ bell’s reapers, amongst which was Abraham Vanhornj “ but after some altercation we find all parties appear to “ be reconciled; but before said Crane left the field, an- “ other dispute arose, in which Crane challenged them “ to fight, man for man, which Campbell’s party agreed “ to do, of which number the said Abraham Vanhorn “ was one: when the parties came near together, they,par- “ lied and disputed for some time, the issue of which was, “ that the prisoner at the bar swore that if he fought any “ man that day, lie would let.out their guts, and likewise “ that he would fight Joseph Vanhorn the next morning, “ for ten dollars, which the said Abraham Vanhorn was “ to bet him. The prisoner at the bar leaving Campbell’s “ field, after some time a certain John Dawkins, one of “ Crane’s reapers, suspected some insult given by Camp-u bell’s party and going to fight any one that would in- “ suit him. The prisoner at the bar observing this, re- “ quested the said Dawkins to get him a club, and he u would take his knife, which knife he took out of his “ pocket, declaring they could clear their way through “ the whole of Campbell’s party, upon which the said “ Dawkins desisted from prosecuting his intentions, and *12“ likewise the prisoner at the bar. We find that between “ sunset and dark, that the said Abraham Vanhorn with “ several others passing through the field ©f John Crane, “ the prisoner at the bar, to confirm a bet which was to “ ensue the next morning, and also making a noise and “ singing, which the said Dawkins conceived was an in- “ suit to the prisoner at the bar and his party. Thereupon “ Dawkins called out that he could whip Joseph Van- “ horn. Joseph Vanhorn replied, it would be no credit to “ him if he did, as he was a larger man; upon which the “ prisoner at the bar came out, and ordered them out of “ his field, or he would blow them through, upon which “ they immediately quitted the field; he then called for “ his gun, which was refused by his wife; he then called “ for his knife, and pursued them to the fence, exclaim- “ ing Abraham Vanhorn, you have used me ill, and I’ll “ be damn’d if T dout have satisfaction. Then the said “ Abraham Vanmrn replied, not more so than you have “ used me. Í he prisoner then requested the said Abra- “ ham Vanhorn to come over the fence, and fight him; “ the said Abraham Vanhorn made answer, that he the “ said prisoner at the bar would use a knife or razor; a the said prisoner at the bar replied, come over the “ fence, and I will give á fair fight: the wife of the said “ prisoner at the bar came down crying out, Mr. Crane, “ l am surprised you should demean yourself to fight “ with such a sat of negrofied puppies. By this time the *13“ prisoner at tbe bar, and the said Abraham Vanhorn, “ were much irritated; at which the said Abraham Van.- “ horn, and Isaac Merchant, one of Campbell’s reapers, “ had their shirts stripped off, which the prisoner at the “ bar had not: the prisoner at the bar and the said Abra- “ ham Vanhorn attempting to get at each other across “ the fence, who was prevented by John Dawkins. Then “ the said prisoner struck at Merchant, who struck the “ said prisoner at the bar, and turned him round, who “ immediately joined in combat with the said Abraham “ Vanhorn. We find in the combat that the said Abra- “ ham Vanhorn threw the prisoner at the bar on the “ ground, and kept him there for some time; at length “ the prisoner at the bar seemed to get the advantage “ of the said Abraham Vanhorn, at which time the said “ Abraham Vanhorn cried enough, and said his guts “ were cut out. We do find that the said Abraham Van- “ horn did receive several wounds with a knife, or some “ sharp instrument, of which wounds the said Abraham “ Vanhorn died, and that the wounds were given by the “ prisoner at the bar. Upon the whole matter the jury u pray the advice of the court; and if the court should “ be of opinion that the prisoner is guilty of murder, “ then we of the jury do find the prisoner is guilty of “ murder; and if the court shall be of opinion that the “ prisoner is not guilty of murder, but guilty of man- “ slaughter, then we the jury do find the prisoner not “ guilty of murder, but guilty of manslaughter.”
*14The District Court not being advised what judgment to give on this verdict, adjourned the question, with the consent of the prisoner, to the General Court for difficulty. .. ■. ■
On the 21st November, 1791, the General Court, consisting of judges Prentis, Tyler, Henry, jones, Roane and Nelson, entered the following judgment. “ This day 4t came as well the attorney general as the counsel for the u said Crane, and. thereupon the question of law arising ^ upon the special verdict in the transcript of the record iC of the said case mentioned, to wit, whether the said *5 Crane be guilty of murder, or manslaughter, being ar- " gued, it is the opinion of the court that the said Crane •* is guilty of murder, which is ordered to be certified to “ the District Court of Winchester.” .
